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            IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF NEW YORK
__________________________________

UNITED STATES OF AMERICA

           vs.                                 Criminal Action No.
                                               5:08-CR-88 (NAM)
DAMION WRIGHT,

                  Defendant.
__________________________________

LISA M. FLETCHER, for the Government

JEFFREY DeROBERTS, ESQ., for the Defendant

ORDER APPROVING WAIVER OF APPEARANCE FOR ARRAIGNMENT

     Defendant has been charged by Superseding Indictment with

conspiracy to possess with intent to distribute, and to distribute marijuana

in violation of 21 U.S.C. §§ 841(a)(1) and 846. Defendant and

defendant’s counsel, Jeffrey DeRoberts, Esq., have completed a written

waiver of arraignment form advising the court that Damion Wright wishes

to waive his right to a formal arraignment on the pending Superseding

Indictment, pursuant to Rule 10 of the Federal Rules of Criminal

Procedure, as amended.

     Based upon the defendant’s voluntary representations, as confirmed

by his attorney, and the understanding that Mr. DeRoberts has explained

the consequences of the waiver of arraignment to his client, I accept his
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waiver as knowing and voluntary. Accordingly, it is hereby

     ORDERED that the clerk is directed to enter a plea of not guilty to

Superseding Indictment No. 5:08-CR-88 (NAM), dated May 15, 2008, on

behalf of the defendant, Damion Wright, such plea to be docketed as

having been entered on the date of the signing of this order.



Dated: June 2, 2008




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